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                          UNITED STATES DISTRICT COURT                           DcC 04®
                            DISTRICT OF SOUTH DAKOTA

                                   NORTHERN DIVISION


 UNITED STATES OF AMERICA,                                  l:23-CR-10032-3-CBK

                      Plaintiff,

        vs.                                                       ORDER ON
                                                        MOTIONS FOR SEVERANCE
 BRIAN WALLACE TAKEN ALIVE,

                      Defendant.



       Defendant Brian Wallace Taken Alive, along with Nathaniel B. Griffin and a third
defendant, were indicted and charged with first degree burglary and two counts of assault
with a dangerous weapon. The third defendant was also charged with witness tampering.
Defendant Taken Alive has filed a motion to sever his trial firom his co-defendants.

Defendant Griffin has filed a motion to join in the motion to sever.
       Pursuant to Fed. R. Crim. P. 8(b),joinder of defendants in an indictment is proper
"ifthey are alleged to have participated in the same act or transaction, or in the same
series of acts or transactions, constituting an offense or offenses." "There is a preference
in the federal system for joint trials of defendants who are indicted together." Zafiro v.
United States. 506 U.S. 534, 537, 113 S. Ct. 933, 937, 122 L. Ed. 2d 317(1993). In this
case, the three defendants are charged in the indictment with having committed the
identical crimes-first degree burglary and two counts of assault with a dangerous
weapon, all occurring on July 5, 2023. The third defendants is alleged to have
intimidated, threatened, or corruptly persuaded one ofthe assault victims with the intent
to hinder, delay, or prevent her fi*om reporting the crime to authorities two days after the
assault. There is no question that these defendants were properly joined pursuant to
Rule 8(b).
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       Pursuant to Fed. R. Crim. P. 14(a), the district court may sever the trial of co-
defendants ifjoinder "appears to prejudice a defendant." "In general, persons charged in
a conspiracy or jointly indicted on similar evidence from the same or related events
should be tried together." United States v. Adkins. 842 F.2d 210,211 (8th Cir. 1988).
Defendant Taken Alive contends thatjoinder would result in a violation of his
constitutional right of confrontation in violation ofBruton v. United States. 391 U.S. 123,
88 S. Ct. 1620, 20 L.Ed.2d 476(1968).
              The Confrontation Clause ofthe Sixth Amendment, extended against
              the States by the Fourteenth Amendment, guarantees the right of a
              criminal defendant "to be confronted with the witnesses against
              him." The right of confrontation includes the right to cross-examine
              witnesses. Therefore, where two defendants are tried jointly, the
              pretrial confession of one cannot be admitted against the other unless
              the confessing defendant takes the stand.

Richardson v. Marsh. 481 U.S. 200, 206, 107 S. Ct. 1702, 1706-07, 95 L. Ed. 2d 176
(1987)(internal citations omitted). "In Bruton, the Supreme Court held that 'a defendant
is deprived of his rights under the Confrontation Clause when his nontestifying
codefendant's confession naming him as a participant in the crime is introduced at their
joint trial, even ifthe jury is instructed to consider that confession only against the
codefendant.'" United States v. Ali. 799 F.3d 1008, 1024-25 (8th Cir. 2015){quoting
Richardson v. Marsh. 481 U.S. 200, 201-02, 107 S.Ct. 1702,95 L.Ed.2d 176 (1987)).
       Defendant Taken Alive contends that defendant Griffin gave statements to an
F.B.I. special agent wherein Griffin stated that he was at the scene of the crimes, did not
participate in the assault, and implicated Taken Alive as having committed the burglary
(kicked the door in) and having "beat the dude up." The government has responded to
the motions to sever, affirming that, on September 25,2023, defendant Griffin made
statements to FBI S.A. Hinkes after Griffin's arrest on the indictment during transport,
which statements were as set forth by defendant Taken Alive in the motion to sever. The
Confrontation Clause concern is that if, in a joint trial. Griffin does not testify but
Griffin's statements are admitted into evidence through the testimony of S.A. Hinkes,
defendant Taken Alive would be denied the ability to cross-examine Griffin.
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       The government contends that the motions to sever trial are premature. Defendant
Griffin has filed a motion to suppress his statements. Ifthat motion is granted, defendant
Griffin's statements would not be admitted at trial. Defendant Griffin failed to appear for
the November 17, suppression hearing and a warrant was issued for his arrest. He was
arrested November 30, 2023. The suppression hearing has not yet been rescheduled. The
government further contends that severance is premature because plea negotiations with
defendant Griffin are ongoing and the third defendant has not yet been apprehended.
       Defendant Taken Alive has filed a motion for a continuance ofthe January 9,
2024,trial date. The government does not object to a continuance. Counsel for
defendant Griffin filed a letter of objection to a continuance because, due to Griffin's
absence, counsel had been unable to consult with Griffin as to a continuance.
       Given the uncertainty as to whether defendant Griffin's statements will be
admissible, the absence ofthe third defendant, and the current uncertainty as to the trial
date, the Court agrees that the motions to sever are premature.
       Now,therefore,
      IT IS ORDERED that the motions. Doc. 52 and 57,to sever are denied.
       DATED this y^dav ofDecember,2023.
                                          BY THE COURT:




                                          CHARLES B. KORNMANN
                                          United States District Judge
